WILLIAM T. RICH, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Rich v. CommissionerDocket No. 12474.United States Board of Tax Appeals11 B.T.A. 1320; 1928 BTA LEXIS 3644; May 11, 1928, Promulgated *3644  Petitioner who kept his books and made his return on a cash receipts and disbursement basis should include deductible foreign taxes in his return for the year in which such taxes were paid.  J. L. Backstrom, Esq., for the respondent.  LOVE *1320  This is a proceeding to redetermine a deficiency for the year 1921, in the amount of $4,338.51, as set out in the petition; in the amount of $7,888.51 as stated in the deficiency; and in the amount of $16,252.69 as alleged in the last amended answer of respondent filed herein.  FINDINGS OF FACT.  Petitioner is an individual and a citizen of the United States residing at Newton, Mass.  In his return for 1921 petitioner deducted from gross income an alleged loss of $5,000 which the Commissioner disallowed.  In the same return petitioner took a credit for taxes accrued or paid to the Dominion of Canada, in the amount of $17,041.20.  Of that amount the Commissioner disallowed $4,338.51, and so notified petitioner.  Petitioner appealed to the Board asserting only one error, to wit, the action of the Commissioner in disallowing the $4,338.51 item, and alleged the deficiency as $4,338.51.  In his amended*3645  answer, respondent alleged that the petitioner, in 1921, kept his books and made his return on the cash receipts and disbursement basis, and that the Commissioner erred in allowing petitioner a credit of $12,702.69, and avers that the true amount of the deficiency is $16,252.69.  The case was submitted on stipulations, being guided by which we find as facts: The petitioner was, during the year 1921, an individual and citizen of the United States residing at 20 Sargent Street in Newton, Middlesex County, Mass.The taxes in controversy are income taxes for the calendar year 1921, in the sums of $12,702.69 and $4,338.51, deducted in petitioner's income-tax return for 1921 as credits on account of income and profits taxes paid by petitioner to the Dominion of Canada.  The attached Exhibits A, B, and C, are copies of petitioner's 1921 income-tax return and claim for credit for taxes paid or accrued to *1321  foreign countries and copy of petitioner's 1921 income-tax return to the Dominion of Canada filed as part of petitioner's return.  The attached Exhibit D is a copy of the deficiency letter mailed to petitioner on January 13, 1926, from which this appeal was taken.  *3646  The petitioner, during the year 1921, kept his books of account and records on a cash receipts and disbursements basis and in his return for said year reported his income and claimed the deductions therein on this basis.  The petitioner admits that respondent properly disallowed a deduction of $5,000, claimed in petitioner's 1921 income-tax return as a loss on Lincoln Motor Co. stock, as set out in said deficiency letter.  The respondent admits error in the disallowance of the sum of $4,338.51, as set out in said Exhibit D, on account of income taxes paid by petitioner during the year 1921 to the Dominion of Canada.  The said sums of $4,338.51 and $12,702.69 represent petitioner's income and profits taxes paid or accrued to the Dominion of Canada as follows: (a) Taxes for the year 1919 paid by petitioner on October 19, 1921, $2,408.97; (b) Taxes for the year 1920 paid by petitioner on April 25, 1921, $1,929.54; (c) Taxes for the year 1921 paid by petitioner on April 7, 1922, per Exhibit E herewith, $12,702.69.  Petitioner did not claim nor receive credit in any United States income-tax return for any year prior to 1921 for the items of Canadian tax for 1919 and 1920, *3647  as set forth above, totaling $4,338.51.  OPINION.  LOVE: Under the facts in this case, petitioner having kept his books and made his return on the cash receipts and disbursement basis, he was entitled to take as a credit the $4,338.51 foreign taxes for the year 1920, paid by him in 1921, and the Commissioner's action in disallowing that credit is reversed.  For the same reason the Commissioner was in error in allowing the credit of $12,702.69 foreign taxes for the year 1921, paid by petitioner in 1922, and as the respondent raised that issue and alleged those facts in his amended answer prior to the submission of the case, we hold that the $12,702.69 should not be allowed as a credit.  There seems to be no question at issue relative to the $5,000 deduction item.  Judgment will be entered under Rule 50.